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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   ALLSTATE INSURANCE COMPANY, et al.,                             08-CV-4405 (SLT) (PK)

                                        Plaintiffs,                    NOTICE OF
                                                           PLAINTIFFS’ MOTION TO TURN OVER
                                                           PROPERTY OF JUDGMENT DEBTORS
                      -against-                                 MARK MIRVIS AND MARK
                                                              LUPOLOVER FRAUDULENTLY
   MARK MIRVIS, et al.,                                     CONVEYED TO OR OTHERWISE IN
                                                           THE POSSESSION OF TATYANA A/K/A
                                      Defendants.          TANYA MIRVIS, LYUBOV MIRVIS AND
                                                                 ALEXANDER BORISKIN




         PLEASE TAKE NOTICE that upon the annexed Declaration of Daniel S. Marvin, Esq.,

  dated November 17, 2017, and exhibits attached thereto, Affidavit of Peter A. Smerick, sworn on

  November 15, 2017, and exhibits attached hereto, the accompanying Memorandum of Law in

  support of this motion, and upon all prior pleadings and proceedings herein, Plaintiffs-Judgment

  Creditors Allstate Insurance Company, Allstate Indemnity Company, Deerbrook Insurance

  Company, Allstate New Jersey Insurance Company, and Allstate Property & Casualty Insurance

  Company (“Plaintiffs”) will move this Court before the Honorable Sterling L. Townes, at the

  United States Courthouse, 225 Cadman Plaza E, Brooklyn, NY 11201, Courtroom 4B S, for an

  Order pursuant to Rule 69 of the Federal Rules of Civil Procedure, Section 5225(b) of the New

  York Civil Practice Law and Rules, and Sections 273–a, 276, 276–a and 278 of the New York

  Debtor and Creditor Law, directing garnishee HSBC Bank, N.A. to turnover $45,155.81 and

  $97,990.93 held in two accounts in the name of non-party Tatyana a/k/a Tanya Mirvis (“T.

  Mirvis”), designated by account numbers ending in -3710 and -9713, respectively; (2) directing

  garnishee TD Bank, N.A. to turnover $2,902.37 and $28,446.54 held in two accounts in the names

  of T. Mirvis and non-party Lyubov Mirvis, and T. Mirvis and non-party Alexander Boriskin,
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  designated by account numbers ending in -0319 and -8848, respectively; (3) directing garnishee

  Capital One, N.A. to turnover $280.55 and $824.43 in two accounts in the name of T. Mirvis,

  designated by account numbers ending in -5283 and -9992; and (4) entering a judgment against T.

  Mirvis in the amount of $52,801.75, along with prejudgment interest and attorneys’ fees.


   Dated: November 17, 2017
          New York, New York

                                                           Respectfully submitted,


                                                           MORRISON MAHONEY LLP


                                                     By:     /s/Daniel S. Marvin
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                                                           Daniel S. Marvin, Esq.
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                                                           CADWALADER, WICKERSHAM &
                                                           TAFT LLP


                                                     By:      /s/ William Natbony
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                                                           Attorneys for Plaintiffs-Judgment
                                                           Creditors Allstate Insurance Company,
                                                           Allstate Indemnity Company, Allstate
                                                           Property & Casualty Insurance Company,
                                                           Allstate New Jersey Insurance Company,
                                                           and Allstate Fire & Casualty Insurance
                                                           Company



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